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                                    STATEMENT OF FACTS

        On January 6, 2021, your affiant, Special Agent James Soltes of the Capitol Police
Department, was on duty and performing my official duties as an Officer in the United States
Capitol Police. Specifically, I was detailed and deployed in the surrounding area of the United
States Capitol building to provide protective functions for members of Congress and their staff.
As a Special Agent in the United States Capitol Police, I am authorized by law or by a Government
agency to engage in or supervise the prevention, detention, investigation, or prosecution of a
violation of Federal criminal laws.
        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. Specifically, elected
members of the United States House of Representatives and the United States Senate were meeting
in separate chambers of the Capitol to certify the vote count of the Electoral College of the 2020
Presidential Election, which had taken place on November 3, 2020. The joint session began at
approximately 1:00 p.m. Vice President Mike Pence was present and presiding in the Senate
chamber.
        With the joint session underway and with Vice President Mike Pence presiding, a large
crowd gathered outside the U.S. Capitol. Temporary and permanent barricades surround the
exterior of the U.S. Capitol building, and U.S. Capitol Police were present and attempting to keep
the crowd away from the Capitol building and the proceedings underway inside. At approximately
2:00 p.m., certain individuals in the crowd forced their way through, up and over the barricades
and officers of the U.S. Capitol Police, and the crowd advanced to the exterior façade of the
building. At such time, the joint session was still underway and the exterior doors and windows of
the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police attempted
to maintain order and keep the crowd from entering the Capitol; however, at approximately 2:15
p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows.
Shortly thereafter, members of the United States House of Representatives and United States
Senate, including the President of the Senate, Vice President Mike Pence, were instructed to—and
did—evacuate the chambers. Accordingly, the joint session of the United States Congress was
effectively suspended until approximately 8:00 p.m.
        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.
        In the course of my duties, I learned that an individual entered the restricted office area of
the Speaker of the House of Representatives Nancy Pelosi and took photographs with his feet
propped up on furniture. Those photos were circulated on numerous news media platforms which
identified the individual as RICHARD BARNETT of Gravette, Arkansas. Capitol Police searched
law enforcement databases including Department of Motor Vehicle records and obtained a
photograph and biographical information for BARNETT. These records confirmed that the
individual in the news photographs did in fact appear to be RICHARD BARNETT of Gravette,
Arkansas DOB 07/12/1960.
        The photos circulated by news media depict BARNETT in and around U.S. Capitol
property. One photo shows BARNETT seated inside of Nancy Pelosi’s office with his feet propped
on a desk with an America flag lying on an adjacent credenza. BARNETT is wearing a hat, plaid
jacket, blue jeans, and brown boots in the photo. Another photo depicts BARNETT seated holding
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an envelope in his left hand addressed to The Honorable Billy Long 2453 Rayburn House Office
Building Washington, D.C. 20515 and a digital signature of Nancy Pelosi. In another photo, an
individual whose face is blocked by a flag but appears to be BARNETT based on his clothing is
seated at a different desk with his feet propped holding an American flag and a cell phone. Another
unidentified individual in a brown jacket is sitting next to him on a couch.
        Video surveillance from a camera positioned outside of the Speaker’s main office door
captures individuals entering and exiting the office. At approximately 2:30 p.m., several
unidentified individuals appear to try the door to the office however the door is locked. At
approximately 2:33 p.m. an unidentified individual pushes in the door to the office. At 2:50 p.m.
BARNETT is captured on surveillance video carrying an American flag and a cellular phone while
entering the doors which lead to the Speaker’s conference room adjoining the main office space.
As he is entering it, he is following behind the unidentified individual in the brown jacket. At 2:56
p.m. BARNETT is captured leaving the main office doors of the Speaker’s office space with only
a phone in his hand.
        On the same date, BARNETT spoke to media outlets in a video recording. In the recording,
BARNETT is wearing the same hat and plaid jacket as worn inside of the Speaker’s office except
that BARNETT appears to have removed his shirt. BARNETT is asked by a person off camera
how BARNETT obtained an envelope he is holding, which was addressed to The Honorable Billy
Long 2453 Rayburn House Office Building Washington, D.C. 20515 with a return address of
Office of the Speaker U.S. House of Representatives Washington, D.C. 20515 and a digital
signature of Nancy Pelosi. BARNETT states “I did not steal it. I bled on it because they were
macing me and I couldn’t fucking see so I figured I am in her office. I got blood on her office. I
put a quarter on her desk even though she ain’t fucking worth it. And I left her a note on her desk
that says “Nancy, Bigo was here, you Bitch.”
        In another photograph which appears to be taken outside on Capitol grounds, BARNETT
is depicted holding the envelope he purported to have taken from Speaker Pelosi’s office. Based
on the writing on the envelope, the envelope appears to be the same envelope BARNETT was
photographed holding inside of the office building.
        Based on the foregoing, your affiant submits that there is probable cause to believe that
BARNETT violated 18 U.S.C. § 1752(a), which makes it a crime to (1) knowingly enter or remain
in any restricted building or grounds without lawful authority to do; or (2) knowingly, and with
intent to impede or disrupt the orderly conduct of Government business or official functions,
engage in disorderly or disruptive conduct in, or within such proximity to, any restricted building
or grounds when, or so that, such conduct, in fact, impedes or disrupts the orderly conduct of
Government business or official functions. For purposes of Section 1752 of Title 18, a restricted
building includes a posted, cordoned off, or otherwise restricted area of a building or grounds
where the President or other person protected by the Secret Service is or will be temporarily
visiting; or any building or grounds so restricted in conjunction with an event designated as a
special event of national significance.
        Your affiant also submits that there is probable cause to believe that BARNETT violated
40 U.S.C. §5104(e)(2)(C), (D), and (G), which makes it a crime to willfully and knowingly (C)
with the intent to disrupt the orderly conduct of official business, enter or remain in a room in any
of the Capitol Buildings set aside or designated for the use of – (i) either House of Congress or a
Member, committee, officer, or employee of Congress, or either House of Congress; or (ii) the
Library of Congress; (D) utter loud, threatening, or abusive language, or engage in disorderly or
disruptive conduct, at any place in the Ground or in any of the Capitol Buildings with the intent to
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impede, disrupt or disturb the orderly conduct of a session of Congress or either House of
Congress, or the orderly conduct in that building of a hearing before, or any deliberations of, a
committee of Congress or either House of Congress; or (G) parade, demonstrate, or picket in any
of the Capitol Buildings.
        Furthermore, your affiant submits, there is probable cause to believe that BARNETT also
violated 18 U.S.C. § 641, which makes it a crime to steal or purloin…, a thing of value of the
United States or of any department or agency thereof or any property made…for the United States
or any department or agency thereof . . .” For purposes of this section, the word “value” means
face, par, or market value, or cost price, either wholesale or retail, whichever is greater.



                                                    _________________________________
                                                    SPECIAL AGENT JAMES SOLTES
                                                    CAPITOL POLICE DEPARTMENT


Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 7th day of January 2021.


                                                    ___________________________________
                                                    G. MICHAEL HARVEY
                                                    U.S. MAGISTRATE JUDGE
